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                                 UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF LOUISIANA

 VIVIAN S. CAHILL and THE ESTATE OF                :
 SANDRA F. GARDNER, by its Personal                :     Case No.:     22-cv-00543-SM-DPC
 Representative, Michael H. Gardner,               :
                                                   :
                    Plaintiffs                     :     Judge:        SUSIE MORGAN
    vs.                                            :
                                                   :     Magistrate:   DONNA PHILLIPS                .
 GREGORY G. FAIA, VERNON H.                        :
 DECOSSAS III, FAIA & ASSOCIATES,                  : .                 CURRAULT
 LLC, ADS SQUARED LLC, VISUAL AD                   :
 GROUP, INC., and DSE LEASING, LLC,                :
                                                   :
                    Defendants


                                            ORDER

          CONSIDERING the “Joint Motion to Continue Scheduling Conference” (Docket # 83)

filed by Defendants (Gregory G. Faia, Vernon H. Decossas III, Faia & Associates, LLC, Ads

Squared LLC, Visual Ad Group, Inc., and DSE Leasing, LLC) and Plaintiffs (Vivian S. Cahill and

the Estate of Sandra F. Gardner, by its Personal Representative, Michael H. Gardner),

          IT IS HEREBY ORDERED that the Motion is GRANTED, and that the scheduling

conference currently set for December 5, 2023, at 9:30 a.m. (Docket # 82), be continued until at

least December 14, with the continued conference to occur on such date and time as the appropriate

case manager specifies in an ensuing notice entered into the record.

          THUS DONE AND SIGNED in New Orleans, Louisiana, on this ____ day of

____________________, 2023.


                      ___________________________________________
                        JUDGE, UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA
